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      Holly Roark (SBN 234638)
  1 ROARK LAW OFFICES
      950 Bannock St. Ste. 1100
  2 Boise, ID 83702
      T (310) 553-2600
  3 F (310) 553-2601
      holly@roarklawoffices.com
  4
  5 Attorney for Synoptek, LLC
  6
  7
  8                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
  9                               SAN FERNANDO VALLEY DIVISION
 10
 11                                                       Case No. 1:24-bk-10646-MB
       In re                                              Chapter 11
 12
                                                          REQUEST FOR JUDICIAL NOTICE
 13    SYNAPSE FINANCIAL TECHNOLOGIES,
       INC.                                               [Filed in support of Notice of Motion and
 14                                                       Motion for Relief from the Automatic
                     Debtor and Debtor in Possession.     Stay Under 11 U.S.C. § 362]
 15
 16                                                       Date: 9/10/2024
                                                          Time: 10:00 a.m.
 17                                                       Place: Courtroom 303
                                                                 21041 Burbank Boulevard
 18                                                              Woodland Hills, CA 91367
 19
 20
               TO THE DEBTOR, DEBTOR IN POSSESSION, CHAPTER 11 TRUSTEE,
 21
      UNSECURED CREDITORS COMMITTEE, RESPONDING PARTIES, THEIR COUNSEL OF
 22
      RECORD, AND TO ALL INTERESTED PARTIES:
 23
               Pursuant to Rule 201 of the Federal Rules of Evidence, Movant Synoptek, LLC asks that
 24
      the Court take judicial notice of the following filings in this case in support of Movant’s Motion
 25
      for Relief from the Automatic Stay Under 11 U.S.C. § 362:
 26
               EXHIBIT E: First Omnibus Motion for Entry of an Order Authorizing Rejection of
 27
      Executory Contracts and Unexpired Leases (Docket No. 76).
 28


                                    REQUEST FOR JUDICIAL NOTICE
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1           EXHIBIT F: Order Granting Debtor’s First Omnibus Motion for Entry of an Order

2    Authorizing Rejection of Executory Contracts and Unexpired Leases (Docket No. 195).

3
4    August 14, 2024                                         ROARK LAW OFFICES

5
                                                             /s/ Holly Roark
6                                                            ________________________
                                                             Holly Roark, Attorney for
7                                                            Synoptek, LLC
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                                REQUEST FOR JUDICIAL NOTICE
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

950 Bannock St. Ste. 1100 Boise, ID 83702

A true and correct copy of the foregoing document entitled (specify): REQUEST FOR JUDICIAL NOTICE
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
8/14/2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 8/14/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8/14/2024                   Holly Roark                                                     /s/Holly Roark
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                                  ATTACHMENT TO PROOF OF SERVICE

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
        (NEF):
     • Ron Bender rb@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Monica Y Kim myk@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Krikor J Meshefejian kjm@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Beth Ann R. Young bry@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Jelena McWilliams jmcwilliams@cravath.com Chapter 11 Trustee
     • Jane Kim jkim@kellerbenvenutti.com for Chapter 11 Trustee
     • Jeremy V Richards jrichards@kbkllp.com for Chapter 11 Trustee
     • Thomas B Rupp trupp@kbkllp.com for Chapter 11 Trustee
     • Russell Clementson russell.clementson@usdoj.gov for United States Trustee
     • Zev Shechtman Saul Ewing LLP Zev.Shechtman@saul.com for Official Committee of
        Unsecured Creditors of Synapse Financial Technologies, Inc.
     • Joshua D. Morse joshua.morse@pillsburylaw.com for AMG National Trust Bank
     • Claire K Wu claire.wu@pillsburylaw.com for AMG National Trust Bank
     • Lance N Jurich ljurich@loeb.com for AMG National Trust Bank
     • Ralph P Guenther rguenther@guentherlawgroup.com for Capital J Inc. d/b/a Juno
     • Andrew Michael Cummings andrew.cummings@hklaw.com for Cigna Health and Life
        Insurance Company
     • Jeffrey C Wisler jwisler@connollygallagher.com for Cigna Health and Life Insurance
        Company
     • Sara Chenetz schenetz@perkinscoie.com Courtesy NEF
     • Michael I. Gottfried mgottfried@elkinskalt.com Courtesy NEF
     • Steven T Gubner sgubner@bg.law Courtesy NEF
     • Valerie Bantner Peo vbantnerpeo@buchalter.com Courtesy NEF
     • David M Poitras dpoitras@bg.law Courtesy NEF
     • J Scott Bovitz bovitz@bovitz-spitzer.com for EarnUp inc. and EarnUp, LLC
     • David M Poitras dpoitras@bg.law for Evolve Bank & Trust
     • William J Levant wlevant@kaplaw.com for William Levant
     • Paul R. Glassman pglassman@stradlinglaw.com for Lineage Bank
     • Nicholas Christian Glenos cglenos@bradley.com for Lineage Bank
     • Fred Neufeld fneufeld@stradlinglaw.com for Lineage Bank
     • Michael G. Farag mfarag@gibsondunn.com for Mercury Technologies, Inc.
     • Jeffrey C Krause jkrause@gibsondunn.com for Mercury Technologies, Inc.
     • David A Berkley david.berkley@wbd-us.com for MongoDB, Inc.



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     •    Zev Shechtman Zev.Shechtman@saul.com for Official Committee of Unsecured
          Creditors of Synapse Financial Technologies, Inc.
     •    Adam A Lewis alewis@mofo.com for Silicon Valley Bank
     •    Rudy J Cerone rcerone@mcglinchey.com for SoLo Funds, Inc.
     •    Raymond O Aghaian raghaian@kilpatricktownsend.com for TClub Inc.
     •    Paul M Rosenblatt prosenblatt@kilpatricktownsend.com for TClub Inc.
     •    Robert T. Honeywell robert.honeywell@klgates.com for TabaPay Holdings LLC
     •    Brandy A Sargent brandy.sargent@klgates.com for TabaPay Holdings LLC
     •    Callan C Searcy bk-csearcy@texasattorneygeneral.gov for Texas Comptroller of Public
          Accounts, Revenue Accounting Division and Texas Workforce Commission
     •    Darren Azman dazman@mwe.com for TriplePoint Capital, LLC
     •    Jason D Strabo jstrabo@mwe.com for TriplePoint Capital, LLC
     •    Michael H Goldstein mgoldstein@goodwinprocter.com for YieldStreet Inc
     •    Michael I. Gottfried mgottfried@elkinskalt.com for Yotta Technologies, Inc.

2. SERVED BY UNITED STATES MAIL:

 DEBTOR                                                             AGENT FOR SERVICE OF PROCESS FOR
 Synapse Financial Technologies, Inc.                               DEBTOR
 21255 Burbank Boulevard Suite 120                                  1505 Corporation National Registered
 Woodland Hills, CA 91367-0000                                      Agents, Inc.
                                                                    Amanda Garcia
                                                                    330 N Brand Blvd
                                                                    Glendale, CA 91203

 COUNSEL FOR DEBTOR                                                 CHAPTER 11 TRUSTEE
 Levene, Neale, Bender, Yoo & Golubchik                             Jelena McWilliams (TR)
 LLP                                                                Cravath, Swaine & Moore LLP
 2818 La Cienega Avenue                                             Two Manhattan West
 Los Angeles, CA 90034                                              375 Ninth Avenue
                                                                    New York, NY 10001

 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
 Alexander Gerten                                                   Benjamin Gruenstein
 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
 Two Manhattan West                                                 2 Manhattan West
 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001




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 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
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 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
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 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001


 COUNSEL FOR OFFICIAL UNSECURED                                     COUNSEL FOR OFFICIAL UNSECURED
 CREDITORS’ COMMITTEE OF SYNAPSE                                    CREDITORS’ COMMITTEE OF SYNAPSE
 FINANCIAL TECHNOLOGIES, INC.                                       FINANCIAL TECHNOLOGIES, INC.
 Zev Schechtman                                                     Benjamin Waisbren
 Carol Chow                                                         John Kucera
 Saul Ewing LLP                                                     Boies Schiller Flexner LLP
 1888 Century Park East Ste 1500                                    1401 New York Avenue, N.W.
 Los Angeles, CA 90067                                              Washington, DC 2005

 COUNSEL FOR TRIPLEPOINT CAPITAL,                                   Darren Azman
 LLC                                                                One Vanderbilt Avenue
 Jake Jumbeck                                                       New York, NY 10017-3852
 McDermott Will & Emery LLP
 444 W. Lake Street, Suite 4000
 Chicago, CA 60606-0029

 Robert J Labate                                                    Neda Shapourian
 400 South Hope Street, 8th Floor                                   Unit21, Inc.
 Los Angeles, CA 90071                                              49 Geary St. Ste 200
                                                                    San Francisco, CA 94108




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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; MYK@LNBYG.COM; KJM@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 99                              SAN FERNANDO VALLEY DIVISION

10
10    In re:                                          Case No.: 1:24-bk-10646-MB
11
11    SYNAPSE FINANCIAL TECHNOLOGIES,
      INC.,                                           Chapter 11 Case
12
12
13
13             Debtor and Debtor in Possession        DEBTOR’S    FIRST    OMNIBUS
                                                      MOTION FOR ENTRY OF AN
14
14                                                    ORDER            AUTHORIZING
                                                      REJECTION    OF    EXECUTORY
15
15                                                    CONTRACTS AND UNEXPIRED
16                                                    LEASES;   MEMORANDUM      OF
16
                                                      POINTS   AND     AUTHORITIES;
17
17                                                    DECLARATION     OF   SANKAET
                                                      PATHAK IN SUPPORT
18
18
                                                      DATE:     May 9, 2024
19
19                                                    TIME:     9:00 a.m.
20                                                    PLACE:    Courtroom 303
20
                                                                21041 Burbank Boulevard.
21
21                                                              Woodland Hills, CA 91367

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 11          TO ALL PARTIES TO EXECUTORY CONTRACTS OR UNEXPIRED LEASES

 22   WITH SYNAPSE FINANCIAL TECHNOLOGIES, INC., WHOSE NAMES APPEAR IN

 33   ALPHABETICAL ORDER IN EXHIBIT 1 ATTACHED TO THIS MOTION, ALONG

 44   WITH DESCRIPTIONS OF THE CONTRACTS AND LEASES TO WHICH YOU ARE

 55   A PARTY:

 66          Synapse Financial Technologies, Inc. (the “Debtor”), debtor in possession in the above-

 77   captioned Chapter 11 bankruptcy case hereby files this motion (the “Motion”) for entry of an order

 88   authorizing the Debtor to reject, effective April 29, 2024, pursuant to 11 U.S.C. § 365, any

 99   executory contract and unexpired lease that is not assumed and assigned in connection with the
10
10    Debtor’s proposed sale of its assets. Any executory contract or unexpired lease that is not assumed
11
11    by the Debtor and assigned to the buyer of the Debtor’s assets, will be rejected, unless the Debtor
12
12    explicitly indicates otherwise in a written statement filed with the Bankruptcy Court.
13
13           A schedule of all of the Debtor’s known executory contracts and unexpired leases (the
14
14    “Contracts and Leases Schedule”) is attached hereto as Exhibit 1.1 Since the identity of the
15
15    buyer approved by the Court is not known at this time (and will not be known until the
16
16    conclusion of the auction and sale hearing scheduled on May 9, 2024, at 9:00 a.m.), the Debtor
17
17    has no way of knowing which executory contracts and unexpired leases, if any, the winning
18
18    bidder will seek to have assigned to it. Thus, every counterparty to an executory contract or
19
19    unexpired lease that could be subject to a rejection of its contract or lease should read this
20
20    Motion and Exhibit 1 to this Motion and consider the relief being requested by the Debtor.
21
21           The Debtor requests the entry of an order authorizing the rejection of all of the executory
22
22    contracts and unexpired leases pursuant to 11 U.S.C. § 365(a) which are not assumed and
23
23    assigned to a buyer. To the extent an executory contract and unexpired lease is not assumed and
24
24    assigned to a buyer, upon the closing of a sale of the Debtor’s assets, the Debtor will no longer
25
25
26
26    1
        The inclusion of a contract or a lease in this Motion does not constitute an admission that such
27
27    contract or lease has not already terminated, or that such contract is or is not executory, or such
      lease is or is not expired. The Debtor seeks authority to reject such contracts and leases to the
28
28    extent such contracts are executory and to the extent such leases are unexpired.

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 11   be conducting business operations and will no longer require, or be in a position to incur further

 22   administrative expenses (if any) in connection with such contracts and leases. Contracts and

 33   leases that are not assumed and assigned will no longer be necessary to the Debtor (unless

 44   otherwise indicated by the Debtor), and would provide no benefit to the Debtor’s estate, only

 55   potential detriment.

 66                                   ADDITIONAL INFORMATION

 77          The Motion is based on 11 U.S.C § 365, Rule 6006 of the Federal Rules of Bankruptcy

 88   Procedure, Local Bankruptcy Rules 2081-1 and 9075-1, this Motion, the Notice of Motion, the

 99   Memorandum attached hereto, the Declaration of Sankaet Pathak annexed to this Motion, the
10
10    entire record in this case, the arguments of counsel made at the hearing, if any, on the Motion,
11
11    and any other evidence properly presented to the Court at or prior to any hearing on the Motion.
12
12           WHEREFORE, the Debtor respectfully requests that the Court enter an order:
13
13            (1) granting this Motion in its entirety;
14
14            (2) authorizing the Debtor to reject the contracts and leases (and any amendments and
15
15    extensions thereto) that are not assumed and assigned in connection with the Debtor’s sale
16
16    process, with such rejection to be deemed effective as of April 29, 2024; and
17
17           (4) granting such further and other relief as the Court deems just and proper.
18
18
      Dated: April 29, 2024                          SYNAPSE FINANCIAL TECHNOLOGIES, INC.
19
19
20
20                                                   By:      /s/ Krikor J. Meshefejian
                                                              RON BENDER
21
21                                                            MONICA Y. KIM
                                                              KRIKOR J. MESHEFEJIAN
22
22                                                            LEVENE, NEALE, BENDER,
                                                              YOO & GOLUBCHIK L.L.P.
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                                                              Proposed Attorneys for Chapter 11 Debtor
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24                                                            and Debtor in Possession

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 11                         MEMORANDUM OF POINTS AND AUTHORITIES

 22                                    I.     STATEMENT OF FACTS

 33            1.      This case was commenced April 22, 2024 (the “Petition Date”) by the Debtor’s

 44   filing of a voluntary petition under chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

 55   Code”). The Debtor continues to operate its business, manage its financial affairs and operate its

 66   bankruptcy estate as a debtor-in-possession pursuant to Sections 1107 and 1108 of the

 77   Bankruptcy Code.

 88            2.      The Debtor is a technology company with a mission to ensure that everyone

 99   around the world has access to best-in-class financial products, regardless of their net worth.
10
10    The Debtor has proprietary technology and software which essentially allows financial
11
11    technology platforms called “fintechs” to provide certain financial products and services to the
12
12    fintechs’ customers (referred to as end users) through certain banking and financial service
13
13    providers.
14
14             3.      On April 19, 2024, the Debtor and TabaPay Holdings, LLC (“Buyer”) executed
15
15    an Asset Purchase Agreement (the “APA”) pursuant to which Buyer has agreed to acquire
16
16    substantially all of the Debtor’s assets including the Debtor’s equity interests in and to the
17
17    Debtor’s two non-debtor, wholly-owned subsidiaries in exchange for the cash payment of
18
18    $9,700,000.00 plus other consideration as described in the APA, including Buyer’s agreement to
19
19    assume certain obligations and certain leases and contracts of the Debtor and pay for all cure
20
20    obligations associated with the assumed leases and contracts. The sale to Buyer is subject to an
21
21    expedited overbid process.
22
22             4.      Any executory contract or unexpired lease that is not assumed by the Debtor and
23
23    assigned to the buyer of the Debtor’s assets, will be rejected, unless the Debtor explicitly
24
24    indicates otherwise in a written statement filed with the Bankruptcy Court.
25
25             5.      A schedule of all of the Debtor’s known executory contracts and unexpired leases
26
26    (the “Contracts and Leases Schedule”) is attached hereto as Exhibit 1.2 Since the identity of the
27
27
28
28    2
          The inclusion of a contract or a lease in this Motion does not constitute an admission that such

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 11   buyer approved by the Court is not known at this time (and will not be known until the

 22   conclusion of the auction and sale hearing scheduled on May 9, 2024, at 9:00 a.m.), the Debtor

 33   has no way of knowing which executory contracts and unexpired leases, if any, the winning

 44   bidder will seek to have assigned to it. Thus, every counterparty to an executory contract or

 55   unexpired lease that could be subject to a rejection of its contract or lease should read this

 66   Motion and Exhibit 1 to this Motion and consider the relief being requested by the Debtor.

 77          6.      The Debtor requests the entry of an order authorizing the rejection of all of the

 88   executory contracts and unexpired leases pursuant to 11 U.S.C. § 365(a) which are not assumed

 99   and assigned to a buyer. To the extent an executory contract and unexpired lease is not assumed
10
10    and assigned to a buyer, upon the closing of a sale of the Debtor’s assets, the Debtor will no
11
11    longer be conducting business operations and will no longer require, or be in a position to incur
12
12    further administrative expenses (if any) in connection with such contracts and leases. Contracts
13
13    and leases that are not assumed and assigned will no longer be necessary to the Debtor (unless
14
14    otherwise indicated by the Debtor), and would provide no benefit to the Debtor’s estate, only
15
15    potential detriment.
16
16                                         II.     DISCUSSION
17
17    A.     Rejection Of The Executory Contracts and Unexpired Leases That Are Not
18
18           Assumed And Assigned To Buyer Or An Alternative Buyer Is In The Estate’s Best
19
19           Interest.
20
20           Barring certain exceptions not relevant herein, 11 U.S.C. §§ 365(a) and 1107(a) authorize
21
21    a debtor in possession, “subject to the Court’s approval, ... [to] assume or reject any executory
22
22    contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a).
23
23           In determining whether to authorize the assumption or rejection of an executory contract
24
24    “a bankruptcy court need engage in ‘only a cursory review of a [debtor-in-possession]’s
25
25    decision…. Specifically, a bankruptcy court applies the business judgment rule to evaluate a
26
26
27
27    contract or lease has not already terminated, or that such contract is or is not executory, or such
      lease is or is not expired. The Debtor seeks authority to reject such contracts and leases to the
28
28    extent such contracts are executory and to the extent such leases are unexpired.

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 11   [debtor-in-possession]’s…decision ....’” In re Player’s Poker Club, Inc., 636 B.R. 811, 817

 22   (Bankr. C.D. Cal. 2022); In re Pomona Valley Med. Grp., Inc., 476 F.3d 665, 670 (9th Cir.

 33   2007), citing Durkin v. Benedor Corp. (In re G.I. Indust., Inc.), 204 F.3d 1276, 1282 (9th

 44   Cir.2000) (citing NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523, 104 S.Ct. 1188, 79 L.Ed.2d

 55   482 (1984)); see also In re Chi–Feng Huang, 23 B.R. 798, 800 (B.A.P. 9th Cir. 1982) (citing

 66   cases).

 77             “[T]he bankruptcy court should presume that the debtor-in-possession acted prudently, on

 88   an informed basis, in good faith, and in the honest belief that the action taken was in the best

 99   interests of the bankruptcy estate.” In re Player’s Poker Club, Inc., 636 B.R. at 817; In re
10
10    Pomona Valley Med. Gro., Inc., 476 F.3d at 670, citing Navellier v. Sletten, 262 F.3d 923, 946 n.
11
11    12 (9th Cir.2001), FDIC v. Castetter, 184 F.3d 1040, 1043 (9th Cir.1999), and In re Miller, 2016
12
12    WL 1316763, at *6 (Bankr. D. Mont. April 1, 2016) (“This Court focuses on the business
13
13    judgment of the Debtor, not on its own business judgment….The Court should approve the
14
14    decision…unless it finds that the Debtor’s conclusion…is so manifestly unreasonable that it
15
15    could not be based on sound business judgment, but only on bad faith, whim or caprice.”).
16
16              In Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310 (Bankr. D. Utah
17
17    1981), the bankruptcy court explained why deference is given to the debtor in possession’s
18
18    decision to assume or reject an executory contract or unexpired lease:
19
19                      “[Court approval under section 365(a),] if required, except in
20                     extraordinary situations, should be granted as a matter of course.
20
                       To begin, this rule places responsibility for administering the estate
21
21                     with the trustee (debtor in possession), not the court, and therefore
                       furthers the policy of judicial independence considered vital by the
22
22                     authors of the Code. Seconds this rule expedites the administration
                       of estates, another goal of the Bankruptcy Reform Act. Third, the
23
23                     rule encourages rehabilitation by permitting the replacement of
24
24                     marginal with profitable business arrangements. Fourth, the rule is
                       supported by pre-Code cases in this Circuit.”
25
25
26
26    Id. at 315 (emphasis added).

27
27              This Motion seeks to reject all of the executory contracts and unexpired leases that are

28
28    not assumed and assigned in connection with the Debtor’s sale process and the assumption and


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 11   assignment procedures approved by the Court.           To the extent an executory contract and

 22   unexpired lease is not assumed and assigned to a buyer, upon the closing of a sale of the

 33   Debtor’s assets, the Debtor will no longer be conducting business operations and will no longer

 44   require, or be in a position to incur further administrative expenses (if any) in connection with,

 55   such contracts and leases. Contracts and leases that are not assumed and assigned will no longer

 66   be necessary to the Debtor (unless otherwise indicated by the Debtor), and would provide no

 77   benefit to the Debtor’s estate, only potential detriment. The Debtor, in the exercise of its

 88   business judgment, therefore requests the entry of an order authorizing the rejection of the

 99   executory contracts and unexpired leases that are not assumed and assigned to a buyer in
10
10    connection with the sale process.
11
11    B.     The Court Should Deem The Contracts And Leases That Are To Be Rejected
12
12           Pursuant To This Motion, To Have Been Rejected As Of The Date Of The Filing Of
13
13           This Motion.
14
14           The Debtor requests that the Court authorize and approve the rejection of executory
15
15    contracts and unexpired leases that are not assumed and assigned to a buyer at the closing of a
16
16    sale, effective as of the date of the filing of this Motion, i.e., April 29, 2024. Pursuant to the
17
17    Local Bankruptcy Rules for the Central District of California, a movant must provide not less
18
18    than 21 days’ notice of the hearing date designated for consideration of a motion. L. Bankr. R.
19
19    9013-1(d). The Local Bankruptcy Rules further provide that a movant may request that a
20
20    hearing on a non-emergency motion be held on shortened notice under appropriate
21
21    circumstances. L. Bank. R. 9075-1(b), and the Debtor made such a request in connection with
22
22    this Motion, so that the Motion is heard on a expedited basis, on May 9, 2024, at 9:00 a.m. in
23
23    conjunction with the Debtor’s motion for authority to sell substantially all of the Debtor’s assets.
24
24           “A nunc pro tunc order involves the entry of ‘a judgment or a decree as of a date anterior
25
25    to that on which it was in fact rendered. Mitchell v. Overman, 103 U.S. 62, 64-65, 26 L.Ed. 369
26
26    (1880). Translated as ‘now for then,’ it is an ancient tool of equity designed to give retroactive
27
27    effect to the order of a court.” Sierra Club v. Whitman, 285 F.3d 63, 67 (D.C. Cir. 2002); see
28
28    also Iouri v. Ashcroft, 487 F.3d 76, 87 (2nd Cir. 2007) (citing Black’s Law Dictionary 1100 (8th


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 11   Ed. 2004)). It traditionally has been available in those ‘circumstances, where its entry is

 22   necessary to avoid, [rather than] create, an injustice at the hands of the court itself.’” In re

 33   Player’s Poker Club, Inc., 636 B.R. at 825, citing Weil v. Markowitz, 898 F.2d 198, 201 (D.C.

 44   Cir. 1990).

 55          This Motion was brought promptly (within 7 days of the Petition Date) and scheduled

 66   concurrently with a hearing on the sale of the Debtor’s assets. This Court has previously held, in

 77   connection with a motion to reject a lease, that nunc pro tunc relief may be appropriate, even if a

 88   motion is heard on shortened notice, “to ameliorate the delay caused by the judicial approval

 99   process,” including the potential “additional delays attendant to the entry of an order by the court
10
10    clerk.” In re Player’s Poker Club, Inc., 636 B.R. at 830.
11
11           Based upon the totality of the circumstances present here, the Debtor submits it would be
12
12    equitable and appropriate to approve the Debtor’s rejection of executory contracts and unexpired
13
13    leases not assumed and assigned to a buyer effective as of the date of the filing of this Motion.
14
14                                          III.    CONCLUSION
15
15           WHEREFORE, the Debtor respectfully requests that the Court enter an order:
16
16            (1) granting this Motion in its entirety;
17
17            (2) authorizing the Debtor to reject the contracts and leases (and any amendments and
18
18    extensions thereto) that are not assumed and assigned in connection with the Debtor’s sale
19
19    process, with such rejection to be deemed effective as of April 29, 2024; and
20
20           (4) granting such further and other relief as the Court deems just and proper.
      Dated: April 29, 2024                         SYNAPSE FINANCIAL TECHNOLOGIES, INC.
21
21
22
22                                                   By:      /s/ Krikor J. Meshefejian
                                                              RON BENDER
23
23                                                            MONICA Y. KIM
                                                              KRIKOR J. MESHEFEJIAN
24
24                                                            LEVENE, NEALE, BENDER,
                                                                      YOO & GOLUBCHIK L.L.P.
25
25
                                                              Proposed Attorneys for Debtor and
26
26                                                            Debtor in Possession

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28


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 11                            DECLARATION OF SANKAET PATHAK

 22          I, Sankaet Pathak, hereby declare as follows:

 33          1.     I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto.

 55          2.     I am the Founder and Chief Executive Officer of Synapse Financial Technologies,

 66   Inc., the chapter 11 debtor and debtor in possession in the above-captioned, chapter 11

 77   bankruptcy case (“Debtor”).

 88          3.     In my capacity as the Founder and CEO of the Debtor, I have access to the

 99   Debtor’s books and records and am familiar with the organization, operations and financial
10
10    condition of the Debtor. Any records and documents referred to in this declaration constitute
11
11    writings taken, made, or maintained in the regular or ordinary course of the Debtor’s business at
12
12    or near the time of act, condition or event to which they relate by persons employed by the
13
13    Debtor who had a business duty to the Debtor to accurately and completely take, make, and
14
14    maintain such records and documents. The statements set forth in this declaration are based
15
15    upon my own review and knowledge of the Debtor’s books and records.
16
16           4.     I make this Declaration in support of the attached motion for entry of an order
17
17    authorizing the Debtor to reject executory contracts and unexpired leases that are not assumed
18
18    and assigned to a buyer in connection with the Debtor’s sale process.
19
19           5.     The Debtor is a technology company with a mission to ensure that everyone
20
20    around the world has access to best-in-class financial products, regardless of their net worth.
21
21    The Debtor has proprietary technology and software which essentially allows financial
22
22    technology platforms called “fintechs” to provide certain financial products and services to the
23
23    fintechs’ customers (referred to as end users) through certain banking and financial service
24
24    providers.
25
25           6.     On April 19, 2024, the Debtor and TabaPay Holdings, LLC (“Buyer”) executed
26
26    an Asset Purchase Agreement (the “APA”) pursuant to which Buyer has agreed to acquire
27
27    substantially all of the Debtor’s assets including the Debtor’s equity interests in and to the
28
28    Debtor’s two non-debtor, wholly-owned subsidiaries in exchange for the cash payment of


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 11   $9,700,000.00 plus other consideration as described in the APA, including Buyer’s agreement to

 22   assume certain obligations and certain leases and contracts of the Debtor and pay for all cure

 33   obligations associated with the assumed leases and contracts. The sale to Buyer is subject to an

 44   expedited overbid process.

 55          7.      Any executory contract or unexpired lease that is not assumed by the Debtor and

 66   assigned to the buyer of the Debtor’s assets, will be rejected, unless the Debtor explicitly

 77   indicates otherwise in a written statement filed with the Bankruptcy Court.

 88          8.      A schedule of all of the Debtor’s known executory contracts and unexpired leases

 99   (the “Contracts and Leases Schedule”) is attached hereto as Exhibit 1.3 Since the identity of the
10
10    buyer approved by the Court is not known at this time (and will not be known until the
11
11    conclusion of the auction and sale hearing scheduled on May 9, 2024, at 9:00 a.m.), the Debtor
12
12    has no way of knowing which executory contracts and unexpired leases, if any, the winning
13
13    bidder will seek to have assigned to it. Thus, every counterparty to an executory contract or
14
14    unexpired lease that could be subject to a rejection of its contract or lease should read this
15
15    Motion and Exhibit 1 to this Declaration and consider the relief being requested by the Debtor.
16
16    ///
17
17    ///
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18    ///
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19    ///
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21    ///
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22    ///
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23    ///
24
24    ///
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25
26
26    3
        The inclusion of a contract or a lease in this Motion does not constitute an admission that such
27
27    contract or lease has not already terminated, or that such contract is or is not executory, or such
      lease is or is not expired. The Debtor seeks authority to reject such contracts and leases to the
28
28    extent such contracts are executory and to the extent such leases are unexpired.

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 22   ///

 33          9.      Upon the closing of a sale of the Debtor’s assets, the Debtor will no longer be

 44   conducting business operations and will no longer require, or be in a position to incur further

 55   expenses (if any) in connection with such contracts and leases. Contracts and leases that are not

 66   assumed and assigned will no longer be necessary to the Debtor (unless otherwise indicated by

 77   the Debtor), and would provide no benefit to the Debtor’s estate, only potential detriment.

 88          I declare under penalty of perjury that the foregoing is true and correct. Executed this
 99   29th day of April 2024.
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11                                                 SANKAET PATHAK
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                               EXHIBIT 1


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No.                        Legal Name                          Contract Description
       1 1Life Healthcare, Inc                 Health Services Agreement
       2 Aaron Riley                           Retention Agreement
       3 ABM Industry Groups, LLC              Agreement for Parking
       4 Adelante CX                           Services Agreement
       5 Adobe Inc                             Services Agreement
       6 Adolfo Reyes                          Retention Agreement
       7 Adrian Valbuena                       Retention Agreement
       8 Airtable                              Services Agreement


       9 Alex Chodvadia                        Retention Agreement
      10 Alfredo Garcia Jr                     Retention Agreement
      11 Alison Hill                           Retention Agreement


      12 Allende & Brea                        Legal Services Agreement
      13 Alliant Insurance Services, Inc       Insurance Brokerage Agreement
      14 Amazon Web Services, Inc.             Services Agreement
      15 Amber Walker                          Retention Agreement

                                               Enterprise Agreement dated July 21, 2018 and
      16 American Bank National Association    related Letter Agreement dated September 14, 2022
      17 American Bank National Association    Bank Services and Deposit Account Agreement
      18 American Crew Group LLC               Services Agreement

                                               Synapse Cash Management Sweep Program Bank
      19 AMG National Trust Bank               Agreement effective as of July 24, 2023, as amended
      20 Anamaria Mireles                      Retention Agreement
      21 AON Consulting, Inc                   Benefit Provider
      22 APIHub, Inc                           Services Agreement
      23 Aprio, LLP                            Accounting Professional Services
      24 Arktouros PLLC                        Legal Services Agreement
      25 Arroweye Solutions Inc.               Services Agreement
      26 Arthur J. Gallagher & Co.             Benefits Provider
      27 Ascent CFO Solutions, LLC             Interim CFO Services Agreement
      28 Ashley McDonnell                      Retention Agreement
      29 Asif Mirza                            Retention Agreement
      30 Atlassian Pty Ltd                     Services Agreement
      31 ATM National, LLC                     Services Agreement
      32 Atmos Financial, Inc                  Customer Master Services Agreement
      33 BairdHolm, LLP                        Legal Services Agreement
      34 Baker Tilly US, LLP                   Legal Services Agreement
      35 Ballard Spahr, LLP                    Legal Services Agreement
      36 Banco Ourinvest                       Customer Master Services Agreement
      37 BanPAY (US) LLC                       Customer Master Services Agreement
      38 BDO USA, LLP                          Professional Services Agreement
      39 Beam Insurance Services, LLP          Benefits Provider Agreement
      40 Bennie Health, Inc.                   Benefits Provider Agreement
      41 Bill.com, LLC                         Services Agreement
      42 Bloom Credit, Inc.                    Customer Master Services Agreement
      43 Brightside Benefit, Inc               Customer Master Services Agreement
      44 Brock Mccullough                      Retention Agreement
      45 BuoyFi LLC                            Customer Master Services Agreement
      46 Business Technology Partners, LLP     Services Agreement
      47 Business Wire, Inc                    Services Agreement
      48 C Squared Communications,LLC          Professional Services Agreement
      49 Cactil LLC                            Services Agreement
      50 Cadre Cash, LLC                       Customer Master Services Agreement
      51 Calendly, LLC                         Services Agreement
      52 Calm.com, Inc                         Benefit Provider Agreement
      53 Capital J Inc                         Customer Master Services Agreement
      54 CBW Bank Inc                          Bank Partner Agreement
      55 Cesar Soto                            Retention Agreement
      56 CFX Direct, LLC                       Customer Master Services Agreement
      57 ChangeEd, Inc                         Customer Master Services Agreement
      58 Charlie Jergins                       Retention Agreement
      59 Checkr, Inc                           Services Agreement
      60 Chester Mui                           Retention Agreement
      61 Chris Valdez                          Retention Agreement
      62 Cigna Healthcare of California, Inc   Benefit Provider Agreement
      63 Circle Internet Services, Inc         Services Agreement
      64 ClassWallet                           Customer Master Services Agreement
      65 Claude Elivert                        Retention Agreement
      66 Clear Function, LLC                   Consulting Agreement
      67 Cloudflare, Inc                       Services Agreement
      68 Coba Chib USA, LLC                    Customer Master Services Agreement
      69 Cobalt Labs, Inc                      Services Agreement
      70 Cogent Communications, Inc            Services Agreement
      71 COINAPI LTD.                          Services Agreement
      72 Content Monsta                        Services Agreement
      73 Continuum, Inc                        Benefits Provider Agreement
      74 CT Corp                               Registered Agent Services Agreement
      75 Curacubby, Inc.                       Customer Master Services Agreement
      76 Curtis Miller                         Retention Agreement
      77 Datadog, Inc.                         Services Agreement
      78 Datasite, LLC                         Services Agreement
      79 Dave Maxfield, Attorney, LLC          Legal Services Agreement
      80 Deborah Porton                        Retention Agreement
      81 Deel, Inc                             International Employee Firm
      82 Degree, Inc                           HR Software Agreement
      83 Derek Drennan                         Retention Agreement
      84 Digital 365 Main, LLC                 Lease
      85 Dina Mellado                          Retention Agreement
      86 Discourse Construction Kit, Inc       Services Agreement
      87 Docker, Inc.                          Services Agreement
      88 DoiT International USA, Inc           IT Consulting Ageement
      89 DolarApp Inc.                         Customer Master Services Agreement
      90 Domo, Inc                             Services Agreement
      91 Doug Hurst                            Retention Agreement
      92 EarnUp, Inc.                          Customer Master Services Agreement
      93 Ekata, Inc.                           Services Agreement
      94 EMVCo, LLC                            Services Agreement
      95 Envoy Inc                             Services Agreement




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 96 eShares, Inc. DBA Carta, Inc.                Services Agreement
 97 Eugene Koran                                 Retention Agreement
 98 Evolve Bank & Trust                          Master Bank Services Agreement
 99 Evolve Bank & Trust                          Letter Agreement dated October 1, 2023
100 Farris Bobango Branan PLC                    Legal Services Agreement
101 Fernanda Hurst                               Retention Agreement
102 Figma, Inc                                   Services Agreement
103 Fime USA Inc.                                Services Agreement
104 Financial Technology Association (FTA)       Trade Organization Services Agreement
105 Fintech Meetup,LLC                           Trade Show Service Agreement
106 First Horizon Bank                           Bank Services and Deposit Account Agreement
107 Fiserv, Inc.                                 Services Agreement
108 Fleishman Hillard Brasil Comunicação, LTDA   Services Agreement
109 Fractionally, Inc                            Services Agreement
110 Fraudguard.io                                Services Agreement
111 Frazier & Deeter, LLC                        Services Agreement
112 Frontier Business Systems Pvt Ltd            Services Agreement
113 Functional Software, Inc. d/b/a Sentry       Services Agreement
114 Fund That Flip, Inc                          Customer Master Services Agreement
115 Gattaca Horizons, LLC                        Advisor Agreement
116 Gaurav Gupta                                 Retention Agreement
117 Gem Software, Inc                            Services Agreement
118 GitBook Inc                                  Services Agreement
119 Github, Inc                                  Software and Services Agreement
120 Glenn Glazer                                 Retention Agreement
121 GO1 USA, LLC                                 Services Agreement
122 Gong.io, Inc                                 Software Agreement
123 Goodwin Procter LLP                          Legal Services Agreement
124 Google LLC                                   Advertising Agreement
125 Grabr Inc.                                   Customer Master Services Agreement
126 Gravy Technologies, Inc.                     Customer Master Services Agreement
127 GravyStack, Inc.                             Customer Master Services Agreement
128 Grid Financial Services Inc                  Customer Master Services Agreement
129 Guideline Technologies, Inc                  Benefits Provider
130 Guy Gandenberger                             Retention Agreement
131 GW Solyushans Ltd                            Services Agreement
132 Hanson Bridgett LLP                          Legal Services Agreement
133 Harrison Thompson                            Retention Agreement
134 Hatfield, Inc.                               Professional Services Agreement
135 Hathaway & Kunz, LLP                         Legal Services Agreement
136 Henry Labs Inc.                              Services Agreement
137 Hines Interests, LP                          Building Manager

138 Hixson Nagatani LLP                          Legal Services Agreement
139 Hubspot, Inc                                 Software Agreement
140 Hummingbird Reg Tech, Inc                    Software Agreement
141 Husch Blackwell                              Legal Services Agreement
142 Hyve, Inc                                    Customer Master Services Agreement
143 Idemia
144         America Corp.
    Idera,Inc                                    Services
                                                 SoftwareAgreement
                                                           and Services Agreement



145 IDT Payment Services, Inc.                   Customer Master Services Agreement

146 IIB Solutions Ltd.                           Consulting Agreement
147 Intuit, Inc                                  Software Agreement
148 Ironclad, Inc                                Legal Services Agreement
149 Jacek Joniec                                 Retention Agreement
150 Jack Doan                                    Retention Agreement
151 Jamane Clark                                 Retention Agreement
152 Jeff Dickinson                               Retention Agreement
153 Jeff Stanley                                 Retention Agreement
154 Jerry Xia                                    Retention Agreement
155 Jessica Bednarek                             Retention Agreement
156 Jessica Byrne                                Retention Agreement
157 Jillana Downing                              Retention Agreement
158 JN Projects, Inc                             Services Agreement
159 John Ginther                                 Retention Agreement
160 Jon Michael Gomez                            Retention Agreement
161 Jones Day                                    Legal Services Agreement
162 Kathleen Fitzpatrick                         Retention Agreement
163 Kevin Humbel                                 Retention Agreement
164 Keyon Tolbert                                Retention Agreement
165 Kirtish Parekh                               Retention Agreement
166 Klutch Technologies Inc.                     Customer Master Services Agreement

167 Knab, Inc                                    Customer Master Services Agreement
168 Kranz & Associates LLC                       Professional Services Agreement
169 Kroll Associates, Inc                        Consulting Agreement
170 Kyle Wilson                                  Retention Agreement
171 Lai Cheung                                   Retention Agreement
172 Landa Holdings, Inc                          Customer Master Services Agreement
173 Latitud, Inc                                 Customer Master Services Agreement
174 Lauchlan Pierce                              Retention Agreement
175 Legacy Transportation Services, Inc          Transportation Services
176 Lever, Inc                                   Recruiting Software Agreement
177 LexSpot,Inc                                  Software Agreement
178 Lighthouse Services, LLC                     Compliance Services Agreeent
179 Lineage Bank                                 Bank Master Services Agreement, as amended
180 Linkedin Corporation                         Recruiting and Advertising Services
181 Linksquares, Inc.                            Software Agreement
182 Littler Mendelson, PC                        Legal Services Agreement
                                                 Lob Order Form Vendor Agreement dated July 12,
183 Lob.com, Inc.                                2022, as amended
184 London & Stout P.C.                          Legal Services Agreement
185 Lowenstein Sandler LLP                       Engagement Letter
186 Lucid Software, Inc                          Software Agreement
187 Machnet Technologies, Inc                    Customer Master Services Agreement
188 Mailchimp                                    Software Agreement
189 MainVest, Inc.                               Customer Master Services Agreement
190 Marifel Frez                                 Retention Agreement
191 Mark Shatzkin                                Retention Agreement




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                                                Agreement for Gateway Services dated July 18, 2018;
                                                Pilot Agreement dated April 22, 2019, and BPX
192 MasterCard International                    Enrollment Form dated October 22, 2021
                                                Mastercard Bill Pay Exchange Terms and Conditions
193 MasterCard International Incorporated       effective October 22, 2021
194 MatchUp, LLC                                Services Agreement
195 Max Webster-Dowsing                         Consulting Agreement
196 McBurberod Financial Inc                    Customer Master Services Agreement
197 Mental Health Coaching LLC                  Consulting Agreement
198 Metropolitan Electrical Construction, Inc   Consulting Agreement
199 Micah Brafford                              Retention Agreement
200 Michael Young                               Retention Agreement
201 Microsoft Corporation                       Software Agreement
202 Mike Eyl                                    Retention Agreement
203 Mike Johns                                  Retention Agreement
204 Mike Rosen                                  Retention Agreement

205 Mitos Diaz                                  Retention Agreement
206 MJ Boyd LLC                                 Services Agreement
207 Mongo DB, Inc                               Software Agreement
208 My First Sale, LLC                          Customer Master Services Agreement
209 Namecheap, Inc                              Domain Registration Services Agreement
210 NATIONAL REGISTERED AGENTS, INC.            Registered Agent Services Agreement
211 Navan, Inc                                  Travel Mangement Agency



212 Nevtec, Inc                                 Managed Services Provider

213 Nir Kalish                                  Consulting Agreement
214 Nova Credit Inc.                            Services Agreement
215 Nowsta, Inc.                                Customer Master Services Agreement
216 OneBlinc,LLC                                Customer Master Services Agreement
217 OpsGenie, Inc                               Services Agreement
218 Optim ACH Solutions LLC                     Services Agreement
219 Pacific Coast Plants LLC                    Office Plant Services
220 Paige Lane                                  Retention Agreement
                                                Master Services Agreement dated February 21, 2021,
221 Papaya Global, Inc.                         as amended
222 Paredes Strategies LLC                      Advisory Board
223 Parkman Licensing, Inc                      Contractor Agreement
224 Patrick Kelly                               Retention Agreement
225 Paystand, Inc.                              Customer Master Services Agreement
226 Performline, Inc.                           Compliance Software Agreement
227 Perry Stallings                             Retention Agreement

228 Peter Ashworth                              Retention Agreement
229 Pinheiro Neto Advogados                     Legal Services Agreement
230 Pioneer Works Inc.                          Customer Master Services Agreement
231 PitchBook Data, Inc.                        Marketing Services Agreement
232 Postman, Inc                                Services Agreement
233 Praveen Mamidi                              Retention Agreement
234 Pretax Hero, Inc                            Parking Agreement
235 PRGB, Inc.                                  Customer Master Services Agreement
236 Principal Life Insurance Company            Benefits Provider
237 PROG Services, Inc.                         Customer Master Services Agreement

238 Public Storage                              Off-site Storage Agreement
239 Quincy Tran                                 Retention Agreement

240 R Monga & Co                                Consulting Agreement
241 Raygun                                      Services Agreement
242 ReadMe.io CO.                               Services Agreement
243 Rebecca Bleschke                            Retention Agreement
244 Rego Payment Architectures, Inc             Customer Master Services Agreement
245 RHR International LLP                       Consulting Agreement
246 Rina Accountancy LLP                        Professional Services Agreement
247 Rippling PEO 1, Inc                         Employee Management System
248 Rocketlane Corp                             Software Agreement
249 Roshan Syed                                 Retention Agreement
250 Routefusion Inc.                            Services Agreement
251 Ryan Devall                                 Retention Agreement
252 SaasAnt Inc.                                Professional Services Agreement
253 Sachet Misra                                Retention Agreement
254 Salesforce, Inc.                            CRM
255 Samip Mehra                                 Retention Agreement
256 Saniyah Gagan                               Retention Agreement
257 Sara Guerrero-Gonzalez                      Retention Agreement
258 ScaleJoy, LLC                               Consulting Agreement
259 Secure Talent, Inc                          Professional Services Agreement
260 Seed Financial, Inc                         Customer Master Services Agreement
261 Sentant Network, LLC                        Consulting Agreement
262 Seon Technologies Kft                       Services Agreement
263 Sherwood Partners, LLC                      Professional Services Agreement
264 Shuo Cheng                                  Retention Agreement
265 Silt Inc                                    Services Agreement
266 Simon Jaud                                  Retention Agreement
267 Skypostal, Inc                              Services Agreement
268 Slack Technologies, LLC                     Services Agreement
269 Sloanne & Company, LLC                      Proessional Services

                                                Multi-cloud Observability, IT Service Management,
270 Solarwinds                                  and Database Performance Management Agreement
271 SoLo Funds, Inc                             Customer Master Services Agreement
272 SonarSource S.A.                            Services Agreement
                                                DBA Right Left Agency Statement of Work dated
273 Spectrum Marketing Solutions, LLP           January 27, 2022
274 Split Software, Inc                         Services Agreement
275 SportsPay Partners, LLC                     Services Agreement
276 SRGR Law Offices                            Legal Services Agreement
277 Sunit Jain                                  Consulting Agreement
278 Sunny Day Fund Solutions, Inc               Customer Master Services Agreement
279 SupportLogic, Inc                           Experience Management Platform




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                                        Amended and Restated Intercompany Service and
                                        Expense Sharing Agreement effective as of
280 Synapse Brokerage LLC               November 1, 2023 as amended from time to time
                                        Intercompany Service and Expense Sharing
281 Synapse Credit LLC                  Agreement dated August 17, 2023
282 Synoptek, LLC                       Services Agreement
283 Tatiana Begley                      Retention Agreement
284 TClub, Inc                          Customer Master Services Agreement
285 Teagan Jensen                       Retention Agreement
286 TET Events, LLC                     Fintech Networking Service
287 Thao Dinh                           Retention Agreement
288 The Hartford                        Benefits Provider Agreement
289 The Smart Group                     Professional Services Agreement
290 This Is Alice Inc.                  Customer Master Services Agreement
291 Thomson Reuters                     Financial Information and Compliance
292 Tracey Guerin                       Retention Agreement
293 TripActions, Inc                    Travel Mangement Agency Services Agreement
294 Triple 2 Inc.                       Digital Agency Services Agreement
295 True North America, Inc             Professional Services organization
296 Trulioo Information Services, Inc   Services Agreement effective Sept. 7, 2023
297 Turing Enterprises Inc.             Professional Services Agreement
298 Twilio Inc.                         Services Agreement
299 Unest Holdings, Inc                 Customer Master Services Agreement
                                        Master Services Agreement and Statement of Work
300 Unit21, Inc                         dated December 29, 2022, as amended
301 Utoppia Inc.                        Customer Master Services Agreement
302 Venminder, Inc                      Software Agreement
303 Victor Medeiros                     Retention Agreement
304 Visage Enterprise, Inc              Customer Master Services Agreement
305 Werqwise                            Office Space License Agreement
306 West Publishing Corporation         Service Agreement
307 Wework                              Office Space License Agreement
308 Will Ferguson                       Retention Agreement
309 William Blair & Company, L.L.C.     Investment Banking Services Agreement
310 WireBee Inc                         Services Agreement
311 WorkRamp, Inc.                      Learning Management System Agreement
312 Yarden Carmeli                      Retention Agreement
                                        Master Services Agreement effective June 29, 2018,
313 YieldStreet Inc.                    as amended
314 Yodlee, Inc.                        Services Agreement
                                        Master Services Agreement effective February 13,
315 Yotta Savings                       2020, as amended
316 Youssef Al-Yakoob                   Retention Agreement
317 Zendesk, Inc                        Software Agreement
318 Zoom Video Communications, Inc      Video Conferencing Service Agreement




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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, California 90034

A True And Correct Copy Of The Foregoing Document Entitled (Specify): DEBTOR’S FIRST OMNIBUS MOTION FOR
ENTRY OF AN ORDER AUTHORIZING REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF SANKAET PATHAK IN SUPPORT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 29, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyg.com
       Russell Clementson russell.clementson@usdoj.gov
       Michael G. Farag mfarag@gibsondunn.com
       Steven T Gubner sgubner@bg.law, ecf@bg.law
       Lance N Jurich ljurich@loeb.com,
        pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
       Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
       Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
       Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
       Krikor J Meshefejian kjm@lnbyg.com
       David M Poitras dpoitras@bg.law
       Brandy A Sargent brandy.sargent@klgates.com,
        litigation.docketing@klgates.com;janna.leasy@klgates.com
       Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) April 29, 2024, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 29, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                   Service by OVERNIGHT MAIL/FEDEX information continued on attached SERVICE LISTS

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 29, 2024             Lourdes Cruz                                                     /s/ Lourdes Cruz
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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CREDITORS, CONTRACTING
COUNTERPARTIES, OTHER PARTIES IN
INTEREST
Served by FEDEX/OVERNIGHT MAIL



Amazon Web Services, Inc.             Aprio, LLP                         Arktouros PLLC
PO Box 84023                          201 North Civic Drive, Suite 220   1717 N Street Northwest, Suite 1
Seattle, WA 98124-8423                Walnut Creek, CA 94596             Washington DC, DC 20036




Arroweye Solutions Inc.               Ask Benjamin, Inc                  ATM National, LLC
2470 Paseo Verde Parkway Suite 135,   2055 Market Street                 PO Box 4346, Dept 364
Henderson, NV 89074                   San Francisco, CA 94114            Houston, TX 77210-4346




Atmos Financial, Inc                  BairdHolm, LLP                     Ballard Spahr, LLP
2222 Harold Way, Suite CW509          1700 Farnam St, Ste 1500           1909 K Street, Nw 12Th Floor
Berkeley, CA 94704                    Omaha, NE 68102                    Washington, DC, DC 20006




BDO USA, LLP                          Bergeson LLP                       Brightside Benefit, Inc
PO Box 677973                         111 Market Street, Suite 600       55 N Arizona Pl, Ste 200
Dallas, TX 75267                      San Jose, CA 95113                 Chandler, AZ 85225




Business Wire, Inc                    Cactil LLC                         Cadre Cash, LLC
101 California Street 20th Floor      1441 Broadway 3rd floor            295 Lafayette Street, Suite 500
San Francisco, CA 94111               New York, NY 10018                 New York, NY 10012




Capital J Inc                         ChangeEd, Inc                      Checkr, Inc
1390 Market Street, Suite 200         222 W. Merchandise Mart Plaza      One Montgomery St Suite 2000
San Francisco, CA 94102               Suite 1212                         San Francisco, CA 94104
                                      Chicago, IL 60654



Cobalt Labs, Inc                      Datadog, Inc.                      Datasite, LLC
575 Market St. Fl 4                   620 8th Avenue Floor 45            733 S. Marquette Ave, Suite 600
San Francisco, CA 94105               New York, NY 10018-1741            Minneapolis, MN 55402




Degree, Inc                           Dexy Co                            Digital 365 Main, LLC
PO Box 207585                         1500 Bay Rd, 920                   365 Main Street Suite 1500
Dallas, TX 75320-7585                 Miami Beach, FL 33139              San Francisco, CA 94105




DoiT International USA, Inc           Ekata, Inc.                        Elevated Principles, Inc
5201 Great America Pkwy, Suite 320    1301 5th Ave Suite 1600            2021 Filmore St, 85
Santa Clara, CA 95054                 Seattle, WA 98101                  San Francisco, CA 94115




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Evolve Bank & Trust                 Evolve Bank & Trust                Financial Technology Association FTA
Attn: David M. Poitras, Esq.        6000 Poplar Avenue, Suite 300      PO Box 223302
21650 Oxnard Street, Suite 500      Memphis, TN 38119                  Chantilly, VA 20153
Woodland Hills, CA 91367



Finnt, Inc                          Fintech Meetup,LLC                 First Horizon Bank
333 S. E. 2nd Avenue, Suite 200     605 3rd Avenue                     4385 Poplar Avenue
Miami, FL 33131                     New York, NY 10158                 ATTN: Proctor Ford
                                                                       Memphis, TN 38117



Fiserv, Inc                         FlemingMartin, LLC                 Flourish Savings, Inc
Po Box 208457                       822 Hartz Way Suite 215            2261 Market Street, 4466
Dallas, TX 75320-8457               Danville, CA 94526                 San Francisco, CA 94114




Fraudguard.io                       Frazier & Deeter, LLC              Fund That Flip, Inc
12116 Everglades Kite Road          222 2nd Avenue S Suite 1840        10 E 23rd Street, 5 floor
Brooksville, FL 34614               Nashville, TN 37201-2308           New York, NY 10010




Gattaca Horizons, LLC               Glance Capital, Inc                Goodwin Procter LLP
5903 Ashby Manor Place              651 North Broad Street             Three Embarcadero Center
Alexandria, VA 22310                Middletown, DE 19709               San Francisco, CA 94111




Gravy Technologies, Inc.            GravyStack, Inc.                   Hanson Bridgett LLP
119 S Main Street                   1 N. 1st Street, 790               425 Market Street, 26th Floor
St. Charles, MO 00063-3301          Phoenix, AZ 85004                  San Francisco, CA 94105




Hatfield, Inc.                      Hixson Nagatani LLP                Hyve, Inc
1112 Bryant Street                  2021 The Alameda, Ste 240          86 Camp Hill Road
San Francisco, CA 94103             San Jose, CA 95126                 Pomona, NY 10970




Idemia America Corp.                IDT Payment Services, Inc.         Illinois Secretary of State
4250 Pleasant Valley Road           520 Broad Street                   115 S. LaSalle St., Ste. 300
Chantilly, VA 20151                 Newark, NJ 07102                   Chicago, IL 60603




Intuit, Inc                         Jones Day                          Klutch Technologies Inc.
650 California St, 7th Floor        555 California Street 26th Floor   3515 Mount Diablo Blvd
San Francisco, CA 94108             San Francisco, CA 94104-1500       Lafayette, CA 94549




Knab, Inc                           Kroll Associates, Inc              Landa Holdings, Inc
432 Fremont Ave                     600 3rd Ave Fl 4                   One Penn Plaza, suite 5307
Pacifica, CA 94044                  New York, NY 10016                 New York, NY 10119




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Latitud, Inc                               Lineage Bank                               Linkedin Corporation
4588 Bennett Valley Road                   3359 Aspen Grove Drive Suite 150           62228 Collections Center Drive
Santa Rosa, CA 95404                       Franklin, TN 37067                         Chicago, IL 60693-0622




Littler Mendelson, PC                      Lob.com, Inc.                              London & Stout P.C.
P.O. Box 207137                            2261 Market Street STE 5668                1999 Harrison Street Ste 2010
Dallas, TX 75320-7137                      San Francisco, CA 94114                    Oakland, CA 94612




Lowenstein Sandler LLP                     Machnet Technologies, Inc                  MasterCard International
One Lowenstein Drive                       317-642 Rue De Courcelle                   2200 Mastercard Boulevard
Roseland, NJ 07068                         Montreal, Quebec, Canada H4C 3C5,          O' Fallon, MO 63368-7263




Masterworks Administrative Services, LLC   McBurberod Financial Inc                   Mercury Technologies, Inc.
225 Liberty St, 29th floor                 650 California St, 7th Floor               660 Mission Street, 4th Floor
New York, NY 10281                         San Francisco, CA 94108                    San Francisco, CA 94105




MicroVenture Marketplaces, Inc             Mila Popov aka Mila Alemasov,              Momento Technologies, Inc
11601 Alterra parkway, suite 100           Ttee Mila Aleamasov Revocable Trust        401 Park Ave South, 9th floor
Austin, TX 78758                           Law Offices of Svetlana Rishini            New York, NY 10016
                                           P.O. Box 2114
                                           Alameda, CA 94501


Nasim Shushtari                            Navan, Inc                                 Newfront Insurance, Inc
Kesluk, Silverstein, Jacob & Morrison, P   3045 Park Blvd                             55 2nd Street, 18th Floor
9255 Sunset Blvd, Suite 411                Palo Alto, CA 94306                        San Francisco, CA 94105
Los Angeles, CA 90069



Next Financial Inc                         Nomad Fintech, Inc. Nomad Tecnologia e P   OneBlinc,LLC
221 1ST Ave W                              873 El Camino Real                         225 E Dania Beach Blvd
Seattle, WA 98119                          Menlo Park, CA 94025                       Dania Beach, FL 33004




Papaya Global, Inc.                        Paredes Strategies LLC                     Passfolio Financial, LLC
1460 Broadway                              9 Shorelands Court                         1390 Market St, Suite 200
New York, NY 10036                         Greenwich, CT 06870                        San Francisco, CA 94102




Performiline, Inc                          PitchBook Data, Inc.                       Pretax Hero, Inc
58 South Street 2nd Floor                  901 Fifth Avenue, Suite 1200               159 Court St #2
Morristown, NJ 07960                       Seattle, WA 98164                          New York, NY 11201




PRGB, Inc.                                 Profit Financial, Inc.                     PROG Services, Inc.
256 W Data Drive                           43 W 23rd Street, 6th Floor,               256 W Data Drive
Draper, UT 84020                           New York, NY 10010                         Draper, UT 84020




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Rego Payment Architectures, Inc       Rocketlane Corp                            Roost Enterprises, Inc
325 Sentry Parkway, suite 200         3524 Silverside Road Suite 35B             629 N High Street, 6th floor
Blue Bell, PA 19422                   Wilmington, DE 19810                       Columbus, OH 43215




Routefusion Inc.                      Salesforce, Inc.                           Schulte Roth Zabel LLP
1305 East 6th Street Unit 10          415 Mission Street 3rd Floor,              919 Third Avenue
Austin, TX 78702                      San Francisco, CA 94105                    New York, NY 10022




Secure Talent, Inc                    Seed Financial, Inc                        Sentant Network, LLC
Secure Talent, Inc. PO BOX 512220     650 California St, 7th Floor               535 Mission St 14th floor
Los Angeles, CA 90051-0220            San Francisco, CA 94108                    San Francisco, CA 94105




Silicon Valley Bank, a division of    Silt Inc                                   Sloanne & Company, LLC
First-Citizens Bank & Trust Company   404 Bryant Street                          285 Fulton Street 69th Floor
1437 7th Street, Suite 300            San Francisco, CA 94107                    New York, NY 10007
Santa Monica, CA 90401



Spectrum Marketing Solutions, LLP     Split Software, Inc                        SportsPay Partners, LLC
4470 W Sunset Blvd 90864              2317 Broadway Street 3rd Floor             177 E Colorado Blvd, Ste 200
Los Angeles, CA 90027                 Redwood City, CA 94063                     Pasadena, CA 91105




SRGR Law Offices                      Sunny Day Fund Solutions, Inc              TabaPay, Inc
A3 Fl 3, Noida                        6003 Madison Overlook Ct.                  605 Ellis Street 110
Uttar Pradesh, India 00020-1301,      Falls Church, VA 22041                     Mountain View, CA 94043




TClub, Inc                            This Is Alice Inc.                         Thomson Reuters
2261 Market Street, 4688              1040 Noel Dr                               PO Box 6292 - West Payment Center
San Francisco, CA 94114               Menlo Park, CA 94025                       Carol Stream, IL 60197-6292




Triple 2 Inc.                         TriplePoint Capital LLC                    Trulioo Information Services, Inc
5501 China Point                      2755 Sand Hill Rd.                         400-114 East 4th St
Long Beach, CA 90803                  Suite 150                                  Vancouver, CA 94104
                                      Menlo Park, CA 94025



Turing Enterprises Inc.               Under Technologies, Inc                    Under Technologies, Inc
P.O. Box 735665                       Keker, Van Nest & Peters LLP 633 Battery   446 W 14th Street, 2nd floor
Chicago, IL, IL 60673-5665            633 Battery Street                         New York, NY 10014
                                      San Francisco, CA 94111



Unest Holdings, Inc                   Unit21, Inc                                Venminder, Inc
5161 Lankershim Blvd, 250             49 Geary Street Suite 200                  400 Ring Rd, Ste 131
North Holywood, CA 91601              San Francisco, CA 94108                    Elizabethtown, KY 42701




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 Visage Enterprise, Inc                    William Blair & Company, L.L.C.    WireBee Inc
 1601 Elm                                  150 North Riverside Plaza          8700 Sanctuary Drive
 Dallas, TX 75201                          Chicago, IL 60606                  Mentor, OH 44060




 WorkRamp, Inc.                            YieldStreet Inc.                   Yodlee, Inc
 440 N Barranca Ave 3840                   300 Park Avenue, 15th Floor,       621 Hillsborough Street, 10th Floor
 Covina, CA 91723-1722                     New York, NY 10022                 Raleigh, NC 27603




 Yotta Technologies Inc                   Chapman and Culter LLP             Patrina Corporation
 33 Irving Pl                             320 South Canal Street Floor 27    45 Broadway, 1440
 New York, NY 10003                       Chicago, IL 60606                  New York, NY 10006




South Carolina Dept of Consumer Affairs    Texas Workforce Commission         Synapse Credit LLC
293 Greystone Boulevard, Ste 400           101 E 15th Street                  149 New Montgomery St.
Columbia, SC 29210                         Room 556                           4th Floor
                                           Austin, TX 78778                   San Francisco, CA 94105



 Synapse Credit LLC                       Synapse Brokerage LLC
 2710 Gateway Oaks Drive                  2012 Northwest Military Highway
 Sacramento, CA 95833                     San Antonio, TX 78213




 CONTRACT COUNTERPARTIES NOT
 LISTED ABOVE

1Life Healthcare, Inc                     ABM Industry Groups, LLC           Adelante CX
PO Box 779                                600 Harrison Street #600           48 Rehov King George
San Francisco, CA 94104                   San Francisco, CA 94107            Tel-Aviv District, Israel 00643-3701




Adobe Inc                                 Airtable                           Allende & Brea
345 Park Ave                              799 Market Street, 8th Floor       8750 Doral Boulevard
San Jose, CA 00094-5110                   San Francisco, CA 94103            Doral, FL 33178




Alliant Insurance Services, Inc           Amazon Web Services, Inc.          American Bank National Association
PO Box 21874                              410 Terry Avenue North             525 N Main Avenue
New York, NY 10087-1874                   Seattle, WA 98109                  Siox Center, IA 51250




American Crew Group LLC                   AON Consulting, Inc                APIHub, Inc
7871 Northwest 15th Street                P.O BOX100137                      90 Sheridan St San Francisco, CA 94103
Doral, FL 33126                           Pasadena, CA 91189-0137            San Francisco, CA 94103




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Arthur J. Gallagher & Co.              Ascent CFO Solutions, LLC            Atlassian Pty Ltd
2850 Golf Road                         1035 Pearl St Suite 407              350 Bush Street, Floor 13
Rolling Meadows, IL 60008              Boulder, CO 80302                    San Francisco, CA 94104




Baker Tilly US, LLP                    Banco Ourinvest                      BanPAY (US) LLC
18500 Von Karman Ave. 10th Floor       Avenida Paulista, 1728, Bela Vista   66 West Flager St, Suite 900
Irvine, CA 92660                       Sao Paulo, SP, Brazil 00131-0919     Miami, FL 33140




Beam Insurance Services, LLP           Bennie Health, Inc.                  Bill.com, LLC
10943 Olson Dr #5659                   700 Canal St, Ste 1                  6220 America Center Dr Suite 100
Rancho Cordova, CA 95670               Stamford, CT 06902                   San Jose, CA 95002




Bloom Credit, Inc.                     BuoyFi LLC                           Business Technology Partners, LLP
450 7th Avenue                         1745 N Brown Rd, Suite 450           PO Box 7004
NY, NY 10123                           Lawrenceviller, GA 30043             Carol Stream, IL 60197-7004




Business Wire, Inc                     C Squared Communications, LLC        Calendly, LLC
101 California Street 20th Floor       317 Acorn Hill Road                  271 17th St. Ste 1000
San Francisco, CA 94111                Olivebridge, NY 12461                Atlanta, GA 30363




CBW Bank Inc                           CFX Direct, LLC                      Cigna Healthcare of California, Inc
109 E. Main St                         41 W. 25th St., 2nd Floor            900 Cottage Grove Rd
Weir, KS 66781                         New York, NY 10010                   Bloomfield, CT 06002




Cigna Healthcare of California, Inc.   Circle Internet Services, Inc        ClassWallet
Attn: Andrew Cummings, Esq.            201 Spear St, 12th Floor             4141 NE 2nd Avenue Suite, 203B
Holland & Knight LLP                   San Francisco, CA 94105              Miami, FL 33137
4675 MacArthur Court, Suite 900
Newport Beach, California 92660


Clear Function, LLC                    Cloudflare, Inc                      Coba Chib USA, LLC
2130 West Street                       101 Townsend St                      701 Brazos St, Suite 500
Germantown, TN 38138                   San Francisco, CA 94107              Austin, TX 78701




Cogent Communications, Inc             COINAPI LTD.                         Content Monsta
2450 N Street NW                       Britannia House, Suite 402           1395 East Cobb Drive Box 71472
Washington, DC 20037                   1-11 Glenthorne Road                 Marietta, GA 30007
                                       Hammersmith, London, UK W6 0LH



Continuum, Inc                         CT Corp                              Curacubby, Inc.
101 2nd Street Suite 525               PO Box 4349                          2120 University Ave,
San Francisco, CA 94105                Carol Stream, IL 60197-4349          Berkeley, CA 94704




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Dave Maxfield, Attorney, LLC        Deel, Inc                                     Digital 365 Main, LLC
P.O. Box 11865                      425 1st Street                                150 CALIFORNIA STREET
Columbia, SC 29211                  San Francisco, CA 94105                       4TH FL, STE 400
                                                                                  SAN FRANCISCO, CA 94111



Digital 365 Main, LLC               Discourse Construction Kit, Inc               Docker, Inc.
365 Main Street Suite 1500          8 The Grn Ste 8383                            3790 El Camino Real #1052
San Francisco, CA 94015             Dover, DE 19901-3618                          Palo Alto, CA 94306




DolarApp Inc.                       Domo, Inc                                     EarnUp, Inc.
Calle Sur 105, 1206,                802 East 1050 South                           2370 Market St, Suite 203
Col. Aeronautica Militar, Mun       American Fork, UT 84003-3798                  San Francisco, CA 94114
Ciudad de Mexico, MEXICO CP 15979



EMVCo, LLC                          Envoy Inc                                     eShares, Inc. DBA Carta, Inc.
544 Hillside Road                   410 Townsend St Suite 410 Suite 410           333 Bush Street, Floor 23, Suite 2300
Redwood City, CA 94062              San Francisco, CA 94107                       San Francisco, CA 94104




Evolve Bank & Trust                 Farris Bobango Branan PLC                     Figma, Inc
6070 Poplar Avenue, Suite 100       999 South Shady Grove Road Suite 500          116 New Montgomery Street, Suite 400
Memphis, TN 38119                   Memphis, TN 38120                             San Francisco, CA 94105




Fime USA Inc.                       Fleishman Hillard Brasil Comunica o, LT       Fractionally, Inc
1737 N 1st St Ste 410               Rua Henrique Schauman, 270, Jardim Paulista   PO Box 2227
San Jose, CA 95112                  Sao Paulo, SP, Brazil 00541-3010              Merced, CA 95344




Frontier Business Systems Pvt Ltd   Functional Software, Inc. d/b/a Sentry        Gem Software, Inc
3 Wood Street, Bengaluru            45 Fremont Street, 8th Floor,                 1 Post Street, 18th Floor,
Bengaluru KA, India 00056-0025      San Francisco, CA 94105                       San Francisco, CA 94104




GitBook Inc                         Github, Inc                                   GO1 USA, LLC
440 N Barranca Ave #7171            c/o Corporation Service Company               26 S Rio Grande St Ste 2072
Covina, CA 91723                    2710 Gateway Oaks                             Salt Lake City, UT 84101
                                    Sacramento, CA 95833



Gong.io, Inc                        Google LLC                                    Grabr Inc.
PO Box 102866                       1600 Amphitheatre Parkway                     201 Spear St, STE: 1100
Pasadena, CA 91189                  Mountain View, CA 94043                       San Francisco, CA 94105




Grid Financial Services Inc         Guideline Technologies, Inc                   GW Solyushans Ltd
1112 Bryant Street                  1412 Chapin Ave                               Asen Zlatarov 16
San Francisco, CA 94103             Burlingame, CA 94010                          Plovdiv, Bulgaria 04000-0000




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Hathaway & Kunz, LLP                   Henry Labs Inc.                         Hubspot, Inc
2515 Warren Avenue, Suite 500          3340 Hillview Ave                       Attn: General Counsel
Cheyenne, WY 82001                     Palo Alto, CA 94304                     Two Canal Park
                                                                               Cambridge, MA 02141



Hummingbird Reg Tech, Inc              Husch Blackwell                         Idera,Inc
440 North Barranca Avenue 4151         8001 Forsyth Boulevard                  10801 N Mopac Expressway
Covina, CA 91723                       Clayton, MO 63105                       Building 1, Suite 100
                                                                               Austin, TX 78759



IIB Solutions Ltd.                     Intuit, Inc                             Ironclad, Inc
19 West 24th Street                    c/o Corporation Service Company         650 California Street Suite 1100
New York, NY 10010                     251 Little Falls Drive                  San Francisco, CA 94108
                                       Wilmington, DE 19808



JN Projects, Inc                       Kranz & Associates LLC                  Kroll Associates, Inc
1800 Owens St                          830 Menlo Ave., Suite 100               55 East 52nd Street
San Francisco, CA 94158                Menlo Park, CA 94025                    17th Floor
                                                                               New York, NY 10055



Legacy Transportation Services, Inc    Lever, Inc                              LexSpot,Inc
5220 Cameron Street                    DEPT 0569 PO Box 120569                 90 New Montgomery St, Suite 750
Las Vegas, NV 89118                    Dallas, TX 75312-0569                   San Francisco, CA 94105




Lighthouse Services, LLC               Lineage Bank                            Linksquares, Inc.
1710 Walton Rd., Suite 204             3359 Aspen Grove Drive Suite 100        33 Arch St, Floor 17
Blue Bell, PA 19422                    Franklin, TN 37067                      Boston, MA 02110




Lucid Software, Inc                    Machnet Technologies, Inc               Mailchimp
10355 South Jordan Gateway Suite 300   10355 South Jordan Gateway Suite 300    675 Ponce De Leon Ave Ne # 5000
South Jordan, UT 84095                 Montreal, Quebec, Canada H4C 3C5        Atlanta, GA 30308




MainVest, Inc.                         MasterCard International                MatchUp, LLC
81 Washington Street                   2000 Purchase Street                    141 Tremont Street 8th Floor
Salem, MA 01970                        Purchase, New York 10577-0000           Boston, MA 02111




Max Webster-Dowsing                    Mental Health Coaching LLC              Metropolitan Electrical Construction, Inc
130 Southsea Avenue, Minster-On-Sea    9450 Southwest Gemini Drive PMB 70589   2400 3rd Street
Sheerness, Kent, UK ME12 2LU           Beaverton, OR 97008                     San Francisco, CA 94107




Microsoft Corporation                  MJ Boyd LLC                             Mongo DB, Inc
One Microsoft Way                      376 Pequot Avenue                       100 Forest Avenue
Redmond, WA 98052                      Southport, CT 06890                     Palo Alto, CA 94301




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My First Sale, LLC                   Namecheap, Inc                   NATIONAL REGISTERED AGENTS, INC.
1 N. 1st Street, 790                 4600 E Washington St Ste 305     PO Box 4349
Phoenix, AZ 85004                    Phoenix, AZ 85034                Carol Stream, IL 60197




Nevtec, Inc                          Nir Kalish                       Nova Credit Inc.
1150 S. Bascom Ave, Suite 12         101 Edinburgh Isle Court         44 Montgomery St 3rd floor
San Jose, CA 95128                   Lakeway, TX 78738                San Francisco, CA 94104




Nowsta, Inc.                         OpsGenie, Inc                    Optim ACH Solutions LLC
228 Park Ave S, PMB 62909            222 Broadway                     9789 Charlotte Highway Suite 400 #219
New York, NY 10003-1502              New York, NY 10038               Fort Mill, SC 29707




Pacific Coast Plants LLC             Parkman Licensing, Inc           Paystand, Inc.
1634 E. Edinger                      1609 England Road                1800 Green Hills Road, Suite 110
Santa Ana, CA 92705                  Arlington, TX 76013              Scotts Valley, CA 95066




Pinheiro Neto Advogados              Pioneer Works Inc.               Postman, Inc
1095 6th Avenue                      835 Howard St Ste 2              55 2nd Street
New York, NY 10036                   San Francisco, CA 94103-3009     San Francisco, CA 94105




Principal Life Insurance Company     Public Storage                   R Monga & Co
PO Box 10372                         611 2nd Street                   566 Makarwali Road
Des Moines, IA 5306-0372             San Francisco, CA 94107          Ajmer RJ, India 00030-5004




Raygun                               ReadMe.io CO.                    RHR International LLP
1601 5th Avenue-Suite 1100           445 Bush St, #800                233 South Wacker Drive 95th Floor
Seattle, WA 98101                    San Francisco, CA 94108          Chicago, IL 60606




Rina Accountancy LLP                 Rippling PEO 1, Inc              Routefusion Inc.
475 14th Street, Suite 1200          2443 Fillmore Street #380-7361   1305 East 6th Street #4
Oakland, CA 94612                    San Francisco, CA 94115          Austin, TX 78702




SaasAnt Inc.                         ScaleJoy, LLC                    Secure Talent, Inc
16192 Coastal Hwy,                   156 Lower Lakeview Drive         PO BOX 512220
Lewes, DE 19958                      Hawley, PA 18428                 Los Angeles, CA 90051-0220




Seon Technologies Kft                Sherwood Partners, LLC           Silt Inc
42 R k czi t 7 EM                    3945 Freedom Cir #560,           404 Bryant Street
Budapest, Hungary 01072-0000         Santa Clara, CA 95054            San Francisco, CA 94107




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Skypostal, Inc                       Slack Technologies, LLC                    Solarwinds
7805 Northwest 15th Street           500 Howard St. 6th Floor                   7171 Southwest Pkwy, Building 400
Doral, FL 33126                      San Francisco, CA 94105                    Austin, TX 78735




SoLo Funds, Inc                      SonarSource S.A.                           Sunit Jain
100 W. 5th Street, 5th floor         PO Box 765                                 KCB Complex
Cincinnati, OH 45202                 Geneva 15, SWITZERLAND CH-1215             Guwahati, India 00078-1001




Sunny Day Fund Solutions, Inc        SupportLogic, Inc                          Synoptek, LLC
6003 Madison Overlook Ct.            356 Santana Row Suite 1000,                Attn: Legal Department
Falls Church, VA 22041               San Jose, CA 95128                         412 E. Parkcenter Blvd
                                                                                Boise, ID 83706



TClub, Inc                           TET Events, LLC                            The Hartford
2261 Market Street, 4688             30 N Gould St Ste 12077                    P O Box 660916
San Francisco, CA 94114              Sheridan, WY 82801                         Dallas, TX 75266-0916




The Smart Group                      TripActions, Inc                           True North America, Inc
2349 Gillingham Circle               3045 Park Boulevard                        8 Cadiz Circle
Thousand Oaks, CA 91362              Palo Alto, CA 94306                        Redwood City, CA 94065




Trulioo Information Services, Inc    Twilio Inc.                                Unit21, Inc
1200-1055 West Hastings Street       101 Spear Street, 5th Floor                222 Kearny St, Suite 304
Vancouver, BC V6E 2E9                San Francisco, CA 94105                    San Francisco, CA 94108




Utoppia Inc.                         Werqwise                                   West Publishing Corporation
399 Fremont St. 2107                 149 New Montgomery, 4th Floor              610 Opperman Drive
San Francisco, CA 94105              San Francisco, CA 94105                    P.O. Box 64833
                                                                                St Paul, MN 55164



Wework                               Wework                                     Yodlee, Inc.
21255 Burbank Boulevard, Suite 120   12 EAST 49TH STREET 3RD FLOOR              3600 Bridge Parkway, Suite 200
Los Angeles, CA 91367                MAIL ROOM                                  Redwood City, CA 94065
                                     NEW YORK, NY 10017



Yotta Savings                        Zendesk, Inc                               Zoom Video Communications, Inc
45 East 22nd St, 33B                 Attn: Legal Department 989 Market Street   55 Almaden Blvd, 6th Floor
New York, NY 10010                   San Francisco, CA 94103                    San Jose, CA 95113




ADDITIONAL INTERESTED PARTIES



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 Kathy Ngo                                          Haida Wilson                                   Nicole Tomassi
 3098 Warrington Avenue                             1859 Hudson Crossing Road, Apt 8               1000 Lake Street, Apt. 1405
 San Jose, CA 95127                                 Tucker, GA 30084                               Oak Park, IL 60301




 Debora Marinho                                     Maria Espinoza                                 Traci Eldridge
 28 Circle Drive, apt F                             103 Mason Drive                                2470 Canary Grass Lane
 Tiburon, CA 94920                                  Newark, DE 19711                               Prosper, TX 75078




 James Austin                                       Pam Wismer                                     Sergio Portillo
 8348 Erickson blvd, 10101                          932 Cooper Ave                                 4501 Bell Court
 Littleton, CO 80129                                Glenwood Springs, CO 81601                     Richmond, CA 94804




 U.S. Trustee                                      Robert T. Honeywell                            Internal Revenue Service
 Attn: Russell Clementson                          K&L Gates LLP                                  P.O. Box 7346
 915 Wilshire Blvd., Suite 1850                    599 Lexington Ave.                             Philadelphia, PA 19101-7346
                                                   New York, NY 10022
 Los Angeles, CA 90017



U.S. Securities and Exchange                       State of CA Employment Dev. Dept.              Franchise Tax Board
Commission Attn: Bankruptcy Counsel                Bankruptcy Group MIC 92E                       Bankruptcy Section, MS: A-340
444 South Flower Street, Suite 900                 P. O. Box 826880                               P. O. Box 2952
Los Angeles, CA 90071-9591                         Sacramento, CA 94280-0001                      Sacramento, CA 95812-2952



California Department of Tax and                   Los Angeles County Tax Collector               FINRA
Fee Administration                                 P. O. Box 54110                                300 South Grand Avenue, Suite 1700
Account Information Group, MIC: 29                 Los Angeles, CA 90054-0110                     Los Angeles, CA 90071
P.O. Box 942879
Sacramento, CA 94279-0029


Rapyd Financial Network (2016) Ltd.                IDT Payment Services, Inc.                     FinLink, Inc. dba Mbanq
132 Begin St., Triangular                          520 Broad Street                               19800 North Creek PWKY #202
Tower, Tel Aviv, Israel                            Newark, NJ 07102                               Bothell, WA, 98110




Computer Services, Inc.                            United States Attorney’s Office                United States Department of Justice
3901 Technology Drive                              Federal Building, Room 7516                    Ben Franklin Station
Paducah, KY 42001                                  300 North Los Angeles Street                   P.O. Box 683
                                                   Los Angeles, CA 90012                          Washington, DC 20044



Georgia Department of Revenue                      Arkansas Dept. of Finance and Administration   Arizona Dept. of Revenue
Compliance Division - Central Collection Section   Attn: Revenue Legal Counsel                    1600 West Monroe Street
1800 Century Blvd NE, Suite 9100                   Ledbetter Building                             Phoenix, AZ 85007
Atlanta, GA 30345-3202                             1816 W 7th St, Rm 2380
                                                   Little Rock, AR 72201


Colorado Department of Revenue                     Florida Department of Revenue                  Comptroller of Maryland
Taxation Section                                   Attn: Mark Hamilton, General Counsel           80 Calvert Street
1881 Pierce St.                                    P. O. Box 6668                                 PO Box 466
Entrance B                                         Tallahassee, FL 32314-6668                     Annapolis, MD 21404-0466
Lakewood, CO 80214


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North Carolina Dept. of Revenue              North Carolina Department of Revenue          NJ Division of Taxation
Attn: Bankruptcy Unit                        501 North Wilmington Street                   3 John Fitch Way, 5th Floor
Post Office Box 1168                         Raleigh, NC 27604                             PO Box 245
Raleigh, NC 27602-1168                                                                     Trenton, NJ 08695-0245



State of Nevada Dept. of Taxation            New York State Dept of Taxation and Finance   Ohio Department of Taxation
3850 Arrowhead Drive, 2nd Floor              Bankruptcy Section                            4485 Northland Ridge Blvd.
Carson City, NV 89706                        PO Box 5300                                   Columbus, Oh 43229
                                             Albany NY 12205-0300



Tennessee Dept. of Revenue                   Texas Comptroller of Public Accounts          Utah State Tax Commission
500 Deaderick Street                         Lyndon B. Johnson State Office Building       210 North 1950 West
Nashville, TN 37242                          111 East 17th Street                          Salt Lake City, UT 84134-0266
                                             Austin, Texas 78774



Virginia Tax                                 Washington State Department of Revenue        Illinois Dept. of Revenue
Attn: General Legal and Technical Services   Treasury Management                           Attn: Bankruptcy Unit
1957 Westmoreland Street                     PO Box 47464                                  PO BOX 19035
Richmond, VA 23230                           Olympia, WA 98504-7464                        SPRINGFIELD IL 62794-9035



 Will Ferguson                                Patrick Kelly                                 Lai Cheung
 1620 Belmont Avenue, unit 327                7619 40th Avenue Court East                   23 Belmont Avenue
 Seattle, WA 98122                            Tacoma, WA 98443                              San Francisco, CA 94117



 Simon Jaud                                   Curtis Miller                                 Mark Shatzkin
 1911 Manning Avenue, Unit 4                  1216 Sambar Circle                            201 Coggins Drive, APT B121
 Los Angeles, CA 90025                        Grovetown, GA 30813                           Pleasant Hill, CA 94523



 Glenn Glazer                                 Hillary Quirk                                 Michael Young
 1074 El Solyo Heights Drive                  2725 20th Street                              7619 40th Ave Ct E
 Felton, CA 95018                             San Francisco, CA 94110                       Tacoma, WA 98443



 Asif Mirza                                   Mike Johns                                    Kirtish Parekh
 1500 Alemany Blvd.                           6401 Trissino Dr                              4592 Leonato way
 San Francisco, CA 94112                      Austin, TX 78739                              FREMONT, CA 94555



 Amber Walker                                 Shuo Cheng                                    Yarden Carmeli
 2370 Bullfinch                               8944 E Pershing Ave                           15 Cork Place
 New Braunfels, TX 78130                      Scottsdale, AZ 85260                          Hazlet, NJ 7730



 Kathleen Fitzpatrick                         Anamaria Mireles                              Guy Gandenberger
 1 Ajax Place                                 6126 Apple Vly Dr                             2264 Reserve Drive
 Berkeley, CA 94708                           San Antonio, TX 78242                         Brentwood, CA 94513



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Perry Stallings                        Alfredo Garcia Jr         Claude Elivert
9520 Sawyer Fay Ln                     467 King James Drive      253-26 148th Drive
Austin, TX 78748                       Alamo, TX 78516           Rosedale, NY 11422



Ryan Devall                            Aaron Riley               Marifel Frez
29 Elk Street                          3033 Eastern Avenue       1833 Elm Street
Eureka Springs, AR 72632               Baltimore, MD 21224       Alameda, CA 94501



Charlie Jergins                        Kyle Wilson               Harrison Thompson
1141 West 360 North Unit 1             6347 Di vita Drive        110 W. Lynwood Ave
Saint George, UT 84770                 Carlsbad, CA 92009        San Antonio, TX 78212



Jillana Downing                        John Ginther              Youssef Al-Yakoob
620 Canyon Rd                          46 Edsall Drive           5143 Castlehaven Bend
Redwood City, CA 94062                 Sussex, NJ 7461           Powder Springs, GA 30127



Adrian Valbuena                        Mitos Diaz                Jessica Bednarek
1417 Platt Avenue                      6375 Azurelyn Avenue      6427 Embankment Road
Milpitas, CA 95035                     Las Vegas, NV 89122       San Antonio, TX 78252



Ashley McDonnell                       Jerry Xia                 Praveen Mamidi
2717 South Lamar Boulevard, Apt 3037   1571 Lewiston Drive       105 Center Ct
Austin, TX 78704                       Sunnyvale, CA 94087       Danville, CA 94506



Jack Doan                              Doug Hurst                Mike Rosen
321 Ski Way, #27                       7873 Saint Vrain Road     3774 Redwood Circle
Incline Village, NV 89451              Longmont, CO 80503        Palo Alto, CA 94306



Victor Medeiros                        Alison Hill               Cesar Soto
769 Cottage Lane                       1517 H Street, Apt 532    5460 Tall Grass Boulevard
Boulder, CO 80304                      Sacramento, CA 95814      Bulverde, TX 78163



Brock Mccullough                       Gaurav Gupta              Chester Mui
20239 N 39Th Dr                        143 River Mews Lane       22290 N 103Rd Dr
Glendale, AZ 85308                     Edgewater, NJ 7020        Peoria, AZ 85383



Mike Eyl                               Jeff Stanley              Kevin Humbel
550 East Brooklyn Village Avenue       5598 Amarosa Drive        1429 Miami Lake Drive
Apt 1409                               Parker, CO 80134          Loveland, OH 45140
Charlotte, NC 28202


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                                                             33
Tatiana Begley                    Thao Dinh                       Alex Chodvadia
15024 Camino Rio                  965 Nevada State Drive, #4103   1602 Lookout Forest
Helotes, TX 78023                 Henderson, NV 89002             San Antonio, TX 78260



Rebecca Bleschke                  Micah Brafford                  Saniyah Gagan
8711 Beviamo Street               2116 Old Oak Dr                 1107 Opal Cup Circle
Houston, TX 77031                 Memphis, TN 38119               Richmond, TX 77406



Sachet Misra                      Teagan Jensen                   Adolfo Reyes
1400 7th Street, apt no 211       8300 East Dixileta Drive, 212   5533 Post Oak Boulevard, APT 401
San Francisco, CA 94107           Scottsdale, AZ 85266            Wesley Chapel, FL 33544



Roshan Syed                       Sankaet Pathak                  Jamane Clark
5760 Hathaway Parkway, Apt 2308   275 Maywood Drive               130 Derby Country Drive
Plano, TX 75024                   San Francisco, CA 94127         Ellenwood, GA 30294



Tracey Guerin                     Derek Drennan                   Fernanda Hurst
320 Miller Ct                     3033 Rosedale Avenue            146 Belle View Drive
Orinda, CA 94563                  Dallas, TX 75205                Petaluma, CA 94952



Eugene Koran                      Jeff Dickinson                  Quincy Tran
2570 Crestmoor Dr                 151 Dina Lane                   7415 Carriage Bay
San Bruno, CA 94066               Montgomery, TX 77356            San Antonio, TX 78249



Sara Guerrero-Gonzalez            Jon Michael Gomez               Keyon Tolbert
13222 Sunrise Wood                11219 Blue Feather              8820 Westheimer Road Apt 2451
San Antonio, TX 78245             San Antonio, TX 78254           Houston, TX 77063



Jessica Byrne                     Peter Ashworth                  Chris Valdez
1226 Tetford                      195 Lakeview                    14427 Texas Coral
San Antonio, TX 78253             Stansbury Park, UT 84074        San Antonio, TX 78253



Samip Mehra                       Lauchlan Pierce                 Paige Lane
9671 W Foothill Dr                4334 Kidsgrove Road             1409 Trailside Circle
Peoria, AZ 85383                  Henrico, VA 23231               Concord, CA 94518



Jacek Joniec                      Deborah Porton
42214 N 18Th Str                  2738 East Downing Circle
New River, AZ 85087               Mesa, AZ 85213



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                                                                33
Goodwin Procter LLP                    First Horizon Bank             Sloanne & Company, LLC
Three Embarcadero Center               Attn: Joe Evangelisti          1150 18th Street NW
San Francisco, CA 94111                165 Madison Avenue, 13th Fl.   Suite 800
                                       Memphis, TN 38117              Washington, DC 20036


Newfront Insurance, Inc.               Linkedin Corporation           Fiserv, Inc.
777 Mariners Island Blvd., Suite 250   1000 West Maude Avenue         255 Fiserve Drive
San Mateo, CA 94404                    Sunnyvale, CA 94085            Brookfield, WI 53045



Digital 365 Main, LLC                  Yotta Technologies Inc.        Lob.com, Inc.
1 State Street, 21st Floor             45 East 22nd Street, #33B      102 2nd Street, Suite 525
New York, NY 10004                     New York, NY 10010             San Francisco, CA 94105



BDO USA, LLP                           Papaya Global, Inc.            1Life Healthcare, Inc
300 Park Avenue, Suite 900             Papaya Global Ltd.             ONE EMBARCADERO CENTER
                                                                      FLOOR 19
San Jose, CA 95110                     3 Arik Einstein Street
                                                                      SAN FRANCISCO, CA 94111
                                       Herzliya, Israel


ABM Industry Grooups, LLC
14141 SOUTHWEST FREEWAY
SUITE 477
SUGAR LAND, TX 77478




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Arroweye Solutions:              ATM national, LLC:                Capital J inc:
550 West Washington Blvd,        2050 W. Sam Houston Pkwy. S. ,    919 N. Market Street, Suite 950
Suite 202                        Suite 1300                        Wilmington, DE 19801
Chicago, IL 60661                Houston, TX 77042


DoiT International USA Inc:      Goodwin Procter, LLP:             Next Financial, Inc:
2445 Augustine Drive,            100 Northern Avenue               3601 Fremont Ave N., Suite 314
Suite 150                        Boston, CA 92210                  Seattle, WA 98103
Santa Clara, CA 95054


Rocketlane Corp:                 Secure Talent:                    Turing Enterprises, Inc:
340 S, Lemon Avenue #4560        2385 Northside Drive, Suite 250   1900 Embarcadero Road
Walnut, CA 94114                 San Diego, CA 92108               Palo Alto, CA 94303




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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                   FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             MAY 24 2024
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; MYK@LNBYG.COM; KJM@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
66   Proposed Attorneys for Chapter 11 Debtors
                                                                       BY Cetulio DEPUTY CLERK



77   and Debtors in Possession

88                            UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
99                              SAN FERNANDO VALLEY DIVISION

10
10   In re:                                          Case No.: 1:24-bk-10646-MB
11
11   SYNAPSE FINANCIAL TECHNOLOGIES,
     INC.,                                           Chapter 11 Case
12
12
13
13            Debtor and Debtor in Possession        ORDER   GRANTING   DEBTOR’S
                                                     FIRST OMNIBUS MOTION FOR
14
14                                                   ENTRY    OF     AN   ORDER
                                                     AUTHORIZING REJECTION OF
15
15                                                   EXECUTORY CONTRACTS AND
16                                                   UNEXPIRED LEASES
16
17
17                                                   DATE:     May 9, 2024
                                                     TIME:     9:00 a.m.
18
18                                                   PLACE:    Courtroom 303
                                                               21041 Burbank Boulevard.
19
19                                                             Woodland Hills, CA 91367
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11          On May 9, 2024, the Court held a hearing to consider the motion (“Motion”) [Doc 76] filed

22   by Synapse Financial Technologies, Inc. (the “Debtor”), debtor in possession in the above-

33   captioned Chapter 11 bankruptcy case, for entry of an order authorizing the Debtor to reject,

44   pursuant to 11 U.S.C. § 365, any executory contract and unexpired lease that is not assumed and

55   assigned in connection with the Debtor’s proposed sale of its assets. Appearances were as noted

66   on the Court’s record.

77          The Court, having read and considered the Motion, notice [Doc 74] of the Motion and the

88   relief requested in the Motion having been appropriate under the circumstances and for the

99   purposes of the relief granted by the Court pursuant to this Motion, and all other pleadings filed in
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10   support of, and in opposition to, the Motion, with good cause appearing, orders as follows:
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11          1.      The Motion is granted as set forth in this Order.
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12          2.      The Debtor is authorized, and is hereby deemed, to reject its executory contracts
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13   and unexpired leases, effective as of May 9, 2024, subject to paragraphs 3 and 4 of this Order.
14
14          3.      Cigna Health and Life Insurance Company (“Cigna”) and the Debtor are parties to
15
15   an Administrative Services Contract (Level Funding) and a Stop Loss Policy (jointly, the
16
16   “Employee Benefits Agreements”) that facilitate the Debtor’s self-insured employee healthcare
17
17   benefits plan. Notwithstanding anything to the contrary in this Order or the Motion, unless Cigna
18
18   and the Debtor agree otherwise, the Employee Benefits Agreements shall not be rejected effective
19
19   as of May 9, 2024; provided, however, that the Employee Benefits Agreements shall be deemed
20
20   terminated as of 12:01 a.m., on June 1, 2024 (“Termination Date”), and the Debtor may terminate
21
21   the eligibility of some or all of its employees under the Debtor’s employee healthcare benefits plan
22
22   prior to such Termination Date by providing notice to Cigna.
23
23          4.      Any party in interest may seek reconsideration of the relief being granted in this
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24   Order by filing with the Court and serving on the Debtor within fourteen days of service of this
25
25   Order, a written request for reconsideration of such relief.
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     Case 1:24-bk-10646-MB        Doc 339
                                      195 Filed 08/14/24
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11                 5.      The Debtor shall serve a copy of this order on all known contracting

22 counterparties affected by the Motion and this Order.
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